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                                 UNITED STATES DISTRICT COURT
17
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18
19                                                    Case No. 4:20-cv-5146-YGR-SVK
      PATRICK CALHOUN, et al., on behalf of
20    themselves and all others similarly situated,   DEFENDANT     GOOGLE       LLC’S
                                                      ADMINISTRATIVE MOTION TO SEAL
            Plaintiffs,                               THE COURTROOM FOR JUNE 30, 2022
21
                                                      DISCOVERY HEARING (DKT NO. 667)
22                 v.
                                                      Referral: Hon. Susan van Keulen, USMJ
23    GOOGLE LLC,                                     Hearing Date: June 30, 2022
                                                      Hearing Time: 9:30 A.M.
            Defendant.
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                                                                     Case No. 4:20-cv-5146-YGR-SVK
                                  GOOGLE’S ADMINISTRATIVE MOTION TO SEAL THE COURTROOM FOR
                                                  JUNE 30, 2022 DISCOVERY HEARING (DKT NO. 667)
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 1     I.   INTRODUCTION
 2          Google expects both parties to reference or discuss Google protected materials at the June
 3 30, 2022 hearing related to the Special Master Report and Recommendation re Modified
 4 Preservation Plan, scheduled pursuant to Dkt. 667. Such materials include the materials designated
 5 Confidential or Highly Confidential-Attorneys’ Eyes Only by Google, including issues in:
 6 Plaintiffs’ Objections and Motion to Modify Special Master Report and Recommendation
 7 Regarding Modified Preservation Plan and supporting documents (Dkt. 691); Google’s Objections
 8 to Special Master’s Report and Recommendation re Calhoun Modified Preservation Plan and
 9 supporting documents (Dkt. 695); Plaintiffs’ Response to Google’s Objections to Special Master’s
10 Modified Preservation Plan and supporting documents (Dkt. 70 9); and Google’s Response to
11 Plaintiffs’ Objections to Special Master’s Report and Recommendation re Calhoun Modified
12 Preservation Plan and supporting documents (Dkt. 714) (“Parties’ Filings”). All of the foregoing
13 filings are subjects of pending motions to file under seal. These discussions will contain Google’s
14 confidential and proprietary information regarding highly sensitive features of Google’s internal
15 systems and operations that Google does not share publicly and will be discussed at the June 30,
16 2022 hearing, including details related to Google’s internal projects, internal databases, data signals,
17 and logs, and their proprietary functionalities, data size, as well as internal metrics, that Google
18 maintains as confidential in the ordinary course of its business and is not generally known to the
19 public or Google’s competitors.
20          The Court previously sealed the April 29, 2021 hearing (Dkt. 169) and portions of the
21 transcript (Dkt. 205), the June 2, 2021 hearing (Dkt. 211) and portions of the transcript (Dkt. 224),
22 the August 12, 2021 hearing (Dkt. 258) and portions of the transcript (Dkt. 327), September 30,
23 2021 hearing (Dkt. 326) and portions of the transcript (Dkt. 386), the November 4, 2021 hearing
24 (Dkt. 368) and portions of the transcript (Dkt. 386), the February 28, 2022 hearing (Dkt. 513) and
25 portions of the transcript (Dkt. 525), the March 17, 2022 hearing (Dkt. 569) and portions of the
26 transcript (Dkt. 596), and the May 3, 2022 hearing (Dkt. 645) in this case related to the same or
27 substantively similar information pursuant to Google’s request.
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                                                   1                  Case No. 4:20-cv-5146-YGR-SVK
                                   GOOGLE’S ADMINISTRATIVE MOTION TO SEAL THE COURTROOM FOR
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 1          In light of the highly confidential material to be discussed at the June 30, 2022 hearing,
 2 Google asked Plaintiffs whether they oppose sealing the hearing pursuant to Section 5.2(b) of the
 3 Protective Order. Tse Decl., ¶ 3. Plaintiffs stated they oppose Google’s request. Id. Google now
 4 moves the Court to seal the courtroom for the June 30, 2022 hearing related to Special Master Report
 5 and Recommendation re Modified Preservation Plan, scheduled pursuant to Dkt. 667.
 6    II.   LEGAL STANDARD
 7          The common law right of public access to judicial proceedings is not a constitutional right
 8 and it is “not absolute.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978); Crowe v. Cty.
 9 of San Diego, 210 F. Supp. 2d 1189, 1194 (S.D. Cal. 2002) (“[T]here is no right of access which
10 attaches to all judicial proceedings.” (internal citations omitted)). The right is weakest where, as
11 here, the proceedings concern a non-dispositive discovery motion; rather than satisfy the more
12 stringent “compelling reasons” standard, a party seeking to seal materials in these circumstances
13 must make only a “particularized showing” of “good cause.” Kamakana v. City & County of
14 Honolulu, 447 F.3d 1172, 1178–80 (9th Cir. 2006). Such sealing is appropriate when the information
15 at issue constitutes “competitively sensitive information,” such as “confidential research,
16 development, or commercial information.” France Telecom S.A. v. Marvell Semiconductor Inc.,
17 2014 WL 4965995, at *4 (N.D. Cal. Oct. 3, 2014); see also Phillips v. Gen. Motors Corp., 307 F.3d
18 1206, 1211 (9th Cir. 2002) (acknowledging courts’ “broad latitude” to “prevent disclosure of
19 materials for many types of information, including, but not limited to, trade secrets or other
20 confidential research, development, or commercial information”); Standard & Poor’s Corp. Inc. v.
21 Commodity Exch., Inc., 541 F. Supp. 1273, 1275 (S.D.N.Y. 1982) (“[T]he overriding interest to be
22 found in business confidences . . . require[s] . . . temporary reasonably restricted access to the
23 Courtroom of members of the public.”).
24 III.     THE HEARING SHOULD BE SEALED BECAUSE PARTIES’ ARGUMENTS WILL
            NECESSARILY INVOLVE DISCLOSURE OF GOOGLE’S HIGHLY SENSITIVE
25          MATERIAL
26          All facts militate in favor of sealing the June 30, 2022 hearing. The “good cause” standard
27 that governs the sealing determination in non-dispositive motions is easily met. The Parties’ Filings
28 contain detailed discussions on Google’s confidential information, including the highly sensitive
                                                  2                     Case No. 4:20-cv-5146-YGR-SVK
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 1 features of Google’s systems and operations. The information sought to be sealed for this hearing
 2 reveals Google’s internal projects, internal databases, data signals, and logs, and their proprietary
 3 functionalities, data size, as well as internal metrics, that Google maintains as confidential in the
 4 ordinary course of its business and is not generally known to the public or Google’s competitors.
 5 Such information is protectable and must be kept confidential in order to prevent harm to Google’s
 6 competitive standing. Moreover, public disclosure of Google’s confidential information may put
 7 Google at an increased risk of cybersecurity threats. Id.
 8          Moreover, to address the issues Plaintiffs raised with respect to this filing and the associated
 9 documents, Google will need to rely on confidential information regarding highly sensitive features
10 of Google’s operations. Google must be able to freely refer to this information to fully explain to
11 the Court how its internal systems and operations work in order to contradict Plaintiffs’ unsupported
12 positions—without fear of public disclosure of sensitive Google business information. It would be
13 unfair and prejudicial to force Google’s counsel to choose between providing facts to the Court by
14 relying on this confidential information and retaining the confidentiality of these highly sensitive
15 facts. If the hearing is not sealed, Google would have to pick between two evils: revealing its highly
16 confidential information that may harm Google and put it at a competitive disadvantage, or
17 vigorously arguing—without supporting facts—that Plaintiffs’ blunderbuss discovery demands are
18 burdensome and disproportional.
19          Given the importance and highly sensitive nature of the aforementioned information related
20 to the parties’ discovery disputes, Google believes that sealing the courtroom is the correct and most
21 effective approach. Indeed, this Court has recently sealed the April 29, 2021, June 2, 2021, August
22 12, 2021, September 30, 2021, November 4, 2021, February 28, 2022, March 17, 2022, and May 3,
23 2022 hearings as well as the April 29, 2021, June 2, 2021, August 12, 2021, September 30, 2021,
24 November 4, 2021, February 28 2022 and March 17, 2022 transcripts where the same or
25 substantively similar information was discussed. The virtual proceedings in this case permit the
26 attendance of hundreds of interested members of the public, including legal experts and journalists,
27 and allowing confidential material to be discussed in open court in these circumstances is
28 tantamount to having it filed publicly on the docket. Google proposes that the Court seal the June
                                                   3                    Case No. 4:20-cv-5146-YGR-SVK
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 1 30, 2022 hearing and that Google will file a motion to seal the June 30, 2022 transcript seven
 2 business days after the hearing to redact any confidential information.
 3          Google defers to the Court as to the best method for sealing the June 30, 2022 hearing in
 4 light of the virtual proceedings but proposes that the Court may consider directing the parties to dial
 5 into a private Zoom meeting, instead of a Zoom webinar.
 6   IV.    CONCLUSION
 7          For the foregoing reasons, Google respectfully requests that the Court seal the June 30, 2022
 8 hearing related to the Special Master Report and Recommendation re Modified Preservation Plan,
 9 scheduled pursuant to Dkt. 667.
10
11 DATED: June 29, 2022                         QUINN EMANUEL URQUHART &
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